Case 2:21-cv-00664-MLCF-DMD Document 1-3 Filed 04/01/21*Aagél Bde 2 |

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Mailing Address Physical Address
P.O. Box 818 Annette M ° Fontana 303 West 3" Street
Thibodaux, LA 70302 Clerk of Court Thibodaux, LA 70301
CITATION
DR. KERI TURNER SEVENTEENTH JUDICIAL DISTRICT
VS PARISH OF LAFOURCHE
BOARD OF SUPERVISORS OF THE " STATE OF LOUISIANA
UNIVERSITY OF LOUISIANA SYSTEM, ET
AL
DOCKET NUMBER: C-142291 DIVISION C

TO: BOARD OF SUPERVISORS OF THE UNIVERSITY OF LOUISIANA SYSTEM
THROUGH THE LOUISIANA ATTORNEY GENERAL
1885 N. 3RD ST. LIVINGSTON BLDG., 6TH FLOOR
BATON ROUGE, LA 70802

residing in the PARISH OF EAST BATON ROUGE, STATE OF LOUISIANA

You are hereby cited to comply with the demand contained in the PETITION FOR DAMAGES a
certified copy of which accompanies this citation. Alternatively, you should file an answer or other pleading to
said PETITION FOR DAMAGES in the office of the Clerk of the Seventeenth Judicial District Court, in
Thibodaux, Louisiana, within fifteen (15) days after the service hereof. Your failure to comply herewith will
subject you to the penalty of entry of default judgment against you.

WITNESS the Honorable Judges of said Court.
Granted under the impress of my seal of office and my official signature at Thibodaux, Louisiana,

February 23, 2021.
ANNETTE M. FONTANA

   

  
  

    

 

 

Se CLERK OF COURT
RECEIVED BY THES.
ATTORNEY GENERAL'S (REN gene c —
Deputy Clerk of Court

Lafourche Parish
DALE EDWARD WILLIAMS
ATTORNEY AT LAW
212 PARK PLACE
COVINGTON, LA 70433

 

 

 

 

 

 

 

 

 

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Service:
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Dty. Sheriff LAFOURCHE Parish Dty. Sheriff LAFOURCHE Parish

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Case 2:21-cv-00664-MLCF-DMD Document1-3 Filed 04/01/21 Page 2 of 2

Annette M. Fontana

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LU: Box 303 West 3" Street
Thibodaux, LA 70302 Clerk of Court Thibodaux, LA 70301
CITATION

DR. KERI TURNER R FTG R SEVENTEENTH JUDICIAL DISTRICT
/ vs “ : i PARISH OF LAFOURCHE

BOARD OF SUPERVISORS OF THE STATE OF LOUISIANA

UNIVERSITY OF LOUISIANA SYSTEM, ET

AL

DIVISION C

DOCKET NUMBER: C-142291

STEVEN H. KENNY JR.

PERSONALLY, AT HIS PLACE OF BUSINESS

179 ELKINS HALL NICHOLLS STATE UNIVERSITY
THIBODAUX, LA 70310

TO:

residing in the PARISH OF LAFOURCHE, STATE OF LOUISIANA

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. Granted under the impress of my seal of office and my official signature at Thibodaux, Louisiana,

February 23, 2021. ha

  

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o a ANNETTE M. FONTANA
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as
~ Deputy Clerk of Court
Lafourche Parish

‘DALE EDWARD WILLIAMS
ATTORNEY AT LAW
212 PARK PLACE ~

 

 

 

 

 

COVINGTON, LA 70433 LAFOURCHE SHERIFF*S RETURN
C-142291 Date: 02/25/21 Time: 10:10
Status:Parsonal
PERSONAL SERVICE | served On: STEVEN H KENNY, JR .
Address: ]79 ELKINS HALL NICHOLLA STATE UNIVERSITY, by
On| TETBODAUX, LA 70301 __ by
Day of Served By: STRINGER, TOMMY
Service: Due: $33.42 7) f 21004323
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Mileage: Signatures / “Vinnm é,.¢t 1G Z ,
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Dty. Sheriff LAFOURCH] 1-
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